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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

                   Plaintiff,

      vs.                                      Case No. 21-cr-444-JEB


BRIAN CHRISTOPHER MOCK,

                   Defendant.


DEFENDANT’S OMNIBUS REPLY BRIEF IN FURTHER SUPPORT OF
             MOTIONS TO DISMISS (DE 75-79)

      The government’s omnibus response (DE 80) fairly characterizes

Brian Mock’s dispositive motions (DE 75-79). The holding in United States v.

Fischer, 64 F.4th 329 (D.C. Cir 2023), compels the Court to deny two (DE 75

& 77) of the three motions to dismiss Count 1, a Section 1512(c)(2) charge.

Fischer tells the Court that Count 1 properly charges the statute’s elements

and that the certification was an “official proceeding.”

      The remaining Count 1 dismissal motion (DE 76), along with the two

Count 2 dismissal motions (DE 78-79), aren’t foreclosed by precedent. But

the parties both recognize that the Court has addressed these arguments at

some length in United States v. Mostofsky and United States v. Dennis. Indeed,
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the Mostofsky memorandum order runs to over 9,000 words. Briefing from

the parties here isn’t likely to dislodge such considered conclusions.

      More broadly, these dismissal motions contemplate success not

before this Court but in the Circuit Court because the legal landscape

around these charges is hardly settled. After all, Fischer arguably generates

more confusion than it does certainty. The shifting legal sands counsel that

the defense should maintain its legal challenges for the Circuit Court in case

its factual challenges don’t prevail at trial.

      Dated at Madison, Wisconsin, this May 8, 2023.

                                                 Respectfully submitted,



                                                 Peter R. Moyers
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                                                 Counsel for Mr. Mock

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